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                MINUTES OF THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


 Case: Dehen v. Doe et al.                                             Case No: 17cv198

 HON. Larry Alan Burns                   CT. DEPUTY                          Rptr.

       The Court takes the hearing scheduled for July 31, 2018, off calendar and will
 decide the motions [Dkt. 67 and 63] on the papers. CivLR 7.1(d)(1).

 DATED: July 23, 2018

                                                       INITIALS: Law Clerk
